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                                            Al Rajhi Bank osel/l                     uipao

                   UNITED STATESDISTRICT COURT
                    FOR THE DISTRICT OF OREGON


UNITED STATES OF'AMERICA                cR 0s-60008-02-Ho
                                       :
                   v.
                                       .DECLARATION OF
                                       .AL.KHOLAIFI AHMED SALEH
PIROUZ SEDAGHATY

                         Defendant

In re AL RAJHI BANK SUBPOENA

AL RAJHI BANKING &
INVESTMENT CORP,
Real party in interest
                         Respondent.




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                                                         Al RajhiBankingI InvestmentCorp.
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                                                         Al RajhiBank anal/l Gpoo
I, Al-Kholaifi Ahmed Saleh.herebvdeclareand stateas follows:


        1. I am the head of the legal departmentat Al Rajhi Banking & InvestmentCorporation

(the "Bank"). As the headof the legal department,I am chargedwith ensuringthat Bank complies

with all relevant laws and regulationsof Saudi Arabia. I am also chargedwith assessinglegal

risks facedby the Bank in the SaudiArabia and abroad,and their potentialimpact on the business

of the Bank.

        2. The laws of Saudi Arabia prohibit the Bank from complying the administrative

subpoenaservedby the United StatesDepartmentof Justiceon July 17, 2009 without the prior

approvaland cooperationof its regulator,the Saudi Arabia Monetary Authority ("SAMA"). The

Bank has requestedpermissionfrom SAMA, and SAMA has instructedthe Bank that it may not

comply with the Subpoenaand that it will face the risk of criminal prosecutionif it does so.

Based on my experiencewith SAMA, and SAMA's letter to the Bank, I believe SAMA would

impose severesanctionson the Bank if it were to comply with the Subpoena. Such criminal

prosecutioncould have a devastatingeffect on the Bank's operationsin SaudiArabia.

        3. The Bank's correspondentrelationshipswith U.S. banks are essentialfor transactions

with, or involving U.S. entities.Terminationof thesecorrespondentrelationships,particularly if

orderedby the U.S. Government,would causeirreparableharm to the Bank's ongoing business

activities. It would also causethe Bank immenseand costly reputationalharm.

I declare under the penalty of perjury under the laws of the United Statesthat the foregoing is true

and correctto the bestof my knowledge.

Dated:Februarv7.2010




                                                                 Banking & Investment Corporation




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